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                                                                                                          April 2, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                   X
UNITED STATES OF AMERICA
                                                                              WAIVER OF RIGHT TO BE PRESENT AT
                          -v-
                                                                              CRIMINAL PROCEEDING
                                                                                m j 0861
    Do si                    AREAA                                        a)           )( )
                                      Defendant.


Check Proceeding that Applies

        Arraignment

        I have been given a copy of the indictment containing the charges against me and have reviewed it with my
        attorney. I understand that I have a right to appear before a judge in a courtroom in the Southern District
        of New York to confirm that I have received and reviewed the indictment; to have the indictment read aloud
        to me if I wish; and to enter a plea of either guilty or not guilty before the judge. After consultation with
        my attorney, I wish to plead not guilty. By signing this document, I wish to advise the court of the following.
        I willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
        that:

                 1)       I have received and reviewed a copy of the indictment.
                 2)       I do not need the judge to read the indictment aloud to me.
                 3)       I plead not guilty to the charges against me in the indictment.


Date:
                 Signature of Defendant




                 Print Name

        Bail Hearing

        I am applying or in the future may apply for release from detention, or if not detained, for modification of
        the conditions of my release from custody, that is, my bail conditions. I understand that I have a right to
        appear before a judge in a courtroom in the Southern District of New York at the time that my attorney
        makes such an application. I have discussed these rights with my attorney and wish to give up these rights
        for the period of time in which access to the courthouse has been restricted on account of the COVID-19
        pandemic. I request that my attorney be permitted to make applications for my release from custody or
        for modification of the conditions of my release even though I will not be present, and to make such
        applications in writing or by telephone in my attorney's discretion.


Date:                     4:rkt-r                      -1-1-
                Signature of efendant



                                \•0         Loo    P
                Print Name
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         Conference

         I have been charged in an indictment with violations of federal law. I understand that I have a right to be
         present at all conferences concerning this indictment that are held by a judge in the Southern District of
         New York, unless the conference involves only a question of law. I understand that at these conferences
         the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
         be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
         excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
         and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
         the court that I willingly give up my right to be present at the conferences in my case for the period of time
         in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
         my attorney be permitted to represent my interests at the proceedings even though I will not be present.




Date:
                  Signature of Defendant




                  Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client's rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client's absence.
I will inform my client of what tran     - a       proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:
                    gn   ure of Defe    Counsel


                                            r          0>
                  Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter's name is:




Date:
                  Signature of Defense Counsel




Accepted:
                 Signature of Judge
                 Date: 11/6/2020
                                                          2
